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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   THE NATIONAL GRANGE OF THE         CIV. NO. 2:14-676 WBS AC
     ORDER OF PATRONS OF
13   HUSBANDRY, a District of           MEMORANDUM AND ORDER RE: MOTION
     Columbia nonprofit                 FOR INJUNCTION
14   corporation,
15                  Plaintiff,
16        v.
17
     CALIFORNIA STATE GRANGE d/b/a
18   “CSG,” a California
     corporation,
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                     Defendant.
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23                Plaintiff National Grange of the Order of Patrons of

24   Husbandry brought this action against defendant California State

25   Grange for trademark infringement and unfair competition under

26   the Lanham Act.     Presently before the court is plaintiff’s motion

27   for an injunction pursuant to the Lanham Act, 15 U.S.C.

28   § 1116(a).    (Docket No. 126.)   For the reasons explained below,
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1    plaintiff’s motion is GRANTED in part.

2    I.      Factual and Procedural Background

3                Plaintiff is a national fraternal organization founded

4    in 1867 to promote the interests of farming and agriculture.

5    (July 14, 2015 Order at 1-2 (Docket No. 60).)        Plaintiff has

6    grown to a network of approximately 2,000 local chapters across

7    the country, through which it provides a variety of goods and

8    services to agricultural communities.       (Id. at 2.)   Plaintiff

9    owns numerous registered numerous trademarks featuring the word

10   “Grange,” which it uses for associational, educational, and

11   advocacy activities.     (Id.)

12               Plaintiff chartered defendant as its affiliate

13   California state chapter in 1873.      (Id.)    As a chartered

14   affiliate, defendant collected dues from local subordinate

15   granges and turned over a portion of those dues to plaintiff.

16   (Id.)    In 1946, defendant registered as a non-profit corporation

17   with the California Secretary of State.        (Huber Decl. ¶ 8, Mar.

18   22, 2016 (Docket No. 126-3).)

19               In 2012, a dispute arose between plaintiff and

20   defendant.     (Compl. ¶ 5 (Docket No. 1).)     As a result, plaintiff
21   revoked defendant’s charter and the parties disaffiliated.       (Id.

22   ¶ 7.)     Plaintiff’s California-based members subsequently voted to

23   reorganize a California state chapter under the name Grange of

24   the State of California’s Order of Patrons of Husbandry,

25   Chartered.    (Id. ¶ 38.)

26               Despite the parties’ disaffiliation, defendant
27   continued to use its registered corporate name, California State

28   Grange, and represent itself publically as California State
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1    Grange on its website, at events, and in its newsletters.          (July

2    14, 2015 Order at 2.)   In March 2014, plaintiff filed this

3    action, bringing claims for (1) federal trademark infringement

4    under Section 32 of the Lanham Act, 15 U.S.C. § 1114; (2) unfair

5    competition and false designation of origin under Section 43(a)

6    of the Lanham Act, 15 U.S.C. § 1125(a); (3) federal trademark

7    dilution under § 43(c) of the Lanham Act, 15 U.S.C. § 1125(c);

8    and (4) federal trademark counterfeiting under § 32(1) of the

9    Lanham Act, 15 U.S.C. § 1114(1).       (Compl. ¶¶ 48-101.)1

10              On July 14, 2015, the court granted plaintiff’s motion

11   for partial summary judgment on its claims for trademark

12   infringement and unfair competition and false designation of

13   origin.   (July 14, 2015 Order at 12, 19.)2     The court then denied

14   plaintiff’s motion to enjoin defendant from using the words

15   “Granger,” “CSG,” and “CG” because summary judgment was limited

16   to the use of “Grange.”   (Sept. 29, 2015 Order at 4.)        On

17   September 29, 2015, the court entered final judgment permanently

18   enjoining “defendant and its agents, affiliates, and assigns, or

19   any party acting in concert with defendant and its agents,

20   affiliates, and assigns from using marks containing the word
21   ‘Grange.’”   (Docket No. 86.)

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23             This case is related to another action presently
     pending before this court, National Grange of the Order of
24   Patrons of Husbandry v. California State Grange, Civ. No. 2:16-
     201 WBS AC. (Docket No. 112.) Plaintiff also filed an action in
25   California state court seeking a declaration of the parties’
26   rights and duties following the revocation of defendant’s
     charter. National Grange v. California State Grange, Civ. No.
27   34-2012-130434 (Cal. Sup. Ct. filed Oct. 1, 2013).
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               Plaintiff voluntarily dismissed its remaining claims
28   with prejudice. (Docket No. 64.)
                                        3
1               On October 28, 2015, defendant filed a notice of appeal

2    from the court’s judgment and its July 14 and September 29

3    Orders.   (Docket No. 87.)    Plaintiff cross-appealed the portion

4    of the court’s September 29, 2015 Order limiting injunctive

5    relief to the word “Grange.”    (Docket No. 90.)   The appeals are

6    currently pending before the United States Court of Appeals for

7    the Ninth Circuit.    In January 2016, the court denied defendant’s

8    motion to stay the injunction pending appeal, holding that

9    plaintiff “would be substantially injured by defendant’s

10   continued infringement of its trademark were the court to grant a

11   stay of the injunction.”     (Jan. 12, 2016 Order at 4 (Docket No.

12   108).)

13              Defendant additionally registered with Sacramento

14   County to do business as “California State Guild” and “CSG.”

15   (Sept. 29, 2015 Order at 4.)     To date, however, defendant

16   continues to use “California State Grange” as its corporate name

17   on file with the California Secretary of State.    (McFarland Decl.

18   ¶¶ 12-13, Feb. 22, 2016 (“McFarland I Decl.”) (Docket No. 114-

19   1).)    Based on defendant’s continued use of “California State

20   Grange,” among other things, plaintiff brought a motion for an
21   order to show cause why defendant should not be held in contempt

22   for violating the court’s injunction.    (Docket No. 109.)     The

23   court denied that motion without prejudice to plaintiff filing

24   the pending motion and requesting to enjoin defendant’s specific

25   conduct based on the issues litigated and evidence presented to

26   the court at the time of the injunction.     (Docket Nos. 117, 120,
27   125.)

28              Plaintiff now moves to enjoin defendant, its agents,
                                        4
1    affiliates, and any party acting in concert with defendant, from:

2    (1) using “Grange,” “Granger,” or “CSG” in conducting business

3    activities or as part of a business, trade, or domain name; (2)

4    using “Grange” in corporate registrations or other filings with

5    any federal, state, or local government; and (3) representing

6    themselves to be the successor to “California State Grange.”

7    (Docket No. 126-4.)     Plaintiff further requests that defendant

8    (4) remove the name “Grange” from all telephone and business

9    directory listings; (5) include a prominent disclaimer on its

10   website and in all future communications that it is “not

11   affiliated with the California State Grange”; (6) include a

12   hyperlink on its website that redirects users to plaintiff’s

13   California-based grange website; and (7) pay plaintiff reasonable

14   attorney’s fees in bringing the pending motion and its previous

15   motion for an order to show cause why defendant should not be

16   held in contempt.   (Id.)

17   II.   Legal Standards

18         A.   Injunctive Relief Under the Lanham Act

19              Plaintiff here succeeded on its claims for trademark

20   infringement, 15 U.S.C. § 1114, and unfair competition, 15 U.S.C.
21   § 1125(a), under the Lanham Act.       (See July 14, 2015 Order.)

22   Defendant has conceded that its services are identical to those

23   offered by plaintiff and that the use of “Grange” by two

24   California organizations had caused actual confusion among

25   consumers and “great confusion” among local granges.      (Id. at 10-

26   11; see also Compl. ¶ 44 (“Defendant’s continued use of GRANGE
27   Marks will likely lead to actual confusion among members of the

28   public, since there are two organizations--one legitimately
                                        5
1    affiliated with the National Grange and one that is not--using

2    the same or substantially similar Grange name and GRANGE Marks to

3    offer the same goods and services to the same members of the

4    public.”).)   The court thus found that “only one inference can be

5    drawn: defendant’s use of ‘Grange’ is likely to cause, and

6    apparently has caused, a reasonably prudent consumer in the

7    marketplace to be confused about the origin of defendant’s

8    services.”    (July 14, 2015 Order at 12.)

9               “Injunctive relief is the remedy of choice for

10   trademark and unfair competition cases, since there is no

11   adequate remedy at law for the injury caused by a defendant’s

12   continuing infringement.”    Century 21 Real Estate Corp. v.

13   Sandlin, 846 F.2d 1175, 1180 (9th Cir. 1988).     The Lanham Act

14   authorizes the court “to grant injunctions, according to the

15   principles of equity and upon such terms as the court may deem

16   reasonable, to prevent the violation” of trademark rights and to

17   prevent unfair competition.    15 U.S.C. § 1116(a).

18              “[I]f a district court finds infringement, it retains

19   the discretion to fashion any remedy which alleviates that

20   confusion.”    Interstellar Starship Servs., Ltd. v. Epix, Inc.,
21   304 F.3d 936, 948 (9th Cir. 2002).      Broad injunctions are

22   especially appropriate where the infringing use is for a similar

23   service.   Sandlin, 846 F.2d at 1181.    This court thus found that

24   injunctive relief was appropriate to prevent defendant’s

25   continued trademark violations and unfair competition.      See 15

26   U.S.C. § 1116(a).
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1            B.     Injunctive Relief During a Pending Appeal

2                   “[A]n injunction often requires continuing supervision

3    by the issuing court and always a continuing willingness to apply

4    its powers and processes on behalf of the party who obtained that

5    equitable relief.”        Sys. Fed’n No. 91, Ry. Emp. Dep’t, AFL-CIO v.

6    Wright, 364 U.S. 642, 647-48 (1961).         The court thus has

7    continuing jurisdiction here to “supervise the injunctive relief

8    [it had] granted.”        Transgo, Inc. v. Ajac Transm’n Parts Corp.,

9    768 F.2d 1001, 1030 (9th Cir. 1985).

10                  Defendant appealed the court’s judgment on October 28,

11   2015.        (Docket No. 87.)   Although an appeal ordinarily divests

12   the district court of jurisdiction over the matters on appeal,

13   Federal Rule of Civil Procedure 62(c) creates an exception to

14   that rule: “While an appeal is pending from an interlocutory

15   order or final judgment that grants, dissolves, or denies an

16   injunction, the court may suspend, modify, restore, or grant an

17   injunction on terms for bond or other terms that secure the

18   opposing party’s rights.”        Fed. R. Civ. P. 62(c); see Nat. Res.

19   Def. Council, Inc. v. Sw. Marine, Inc., 242 F.3d 1163, 1166 (9th

20   Cir. 2001).
21                  Rule 62(c) confers upon the district court the power

22   “it has always inherently possessed to preserve the status quo

23   during the pendency of an appeal.”         Nat. Res. Def. Council, 242

24   F.3d at 1166.        However, the Rule “does not restore jurisdiction

25   to the district court to adjudicate anew the merits of the case.”

26   Id. (citation omitted).         Thus, any action taken pursuant to Rule
27   62(c) “may not materially alter the status of the case on

28   appeal.”       Id. (citation omitted); see In re TFT-LCD (Flat Panel)
                                            7
1    Antitrust Litig., Civ. No. C-07-01827 SI, 2013 WL 6055079, at *1

2    (N.D. Cal. Nov. 13, 2013) (“[W]hile an appeal is pending, the

3    district court . . . may not take any action that would change

4    the core issues before the appellate court.”).

5              Defendant makes much of the fact that in its Reply

6    Brief (Docket No. 133) plaintiff stated that it “is not asking

7    the Court to maintain the status quo . . .” (Id., p. 3).   The

8    court remains befuddled by that statement in the Reply Brief,

9    since preserving the status quo is exactly what plaintiff appears

10   to be asking for elsewhere in its moving papers, and it is all

11   the court intends to do by this Order.

12              Where the court supervises a continuing course of

13   conduct pursuant to an injunction, and new facts develop that

14   require additional action by the court to ensure compliance with

15   its order, an appeal from the original order “does not divest the

16   district court of jurisdiction to continue its supervision, even

17   though in the course of that supervision the court acts upon or

18   modifies the order from which the appeal is taken.”    Hoffman v.

19   Beer Drivers & Salesmen’s Local Union No. 888, 536 F.2d 1268,

20   1276 (9th Cir. 1976).   The court thus retains jurisdiction to
21   preserve the status quo and ensure the effectiveness of its

22   judgment, despite the pending appeal in this action.   McClatchy

23   Newspapers v. Cent. Valley Typographical Union No. 46, 686 F.2d

24   731, 734-35 (9th Cir. 1982); Tribal Vill. of Akutan v. Hodel, 859

25   F.2d 662, 663 (9th Cir. 1988).

26             The status quo is measured at the time the appeal is
27   filed.   In re Delta Smelt Consol. Cases, Civ. No. 1:09-407 OWW,

28   2011 WL 2559021, at *4 (E.D. Cal. June 24, 2011); see Nat. Res.
                                      8
1    Def. Council, 242 F.3d at 1166); see also TFT-LCD, 2013 WL

2    6055079, at *1 (“[W]hile an appeal is pending, the district court

3    may act to preserve the status quo at the time the appeal was

4    filed.”).   The permanent injunction here was entered on September

5    29, 2015, and defendant filed its appeal on October 28, 2015.

6    Accordingly, the status quo at the time the appeal was filed

7    prohibited “defendant and its agents, affiliates, and assigns, or

8    any party acting in concert with them, from using marks

9    containing the word “Grange.”

10   III. Analysis

11               Plaintiff seeks an order enjoining defendant and its

12   agents, affiliates, and assigns, or any party acting in concert

13   with them, from using the word “Grange,” including “California

14   State Grange” and “California Grange Foundation,” in any business

15   activities or as part of any trademark, service mark, trade name,

16   corporate name, domain name, or e-mail address.

17       A.      Subject Matter Jurisdiction

18               Defendant argues that enjoining it from using “Grange”

19   as part of its corporate name is impermissible under Rule 62(c)

20   because the requested relief “goes well beyond preserving the
21   status quo” and “seeks to change the status quo” by granting “new

22   relief that plaintiff chose not to pursue during the litigation

23   of this action.”    (Opp’n at 2 (Docket No. 132).)    On that basis,

24   defendant argues plaintiff’s motion “must be denied for lack of

25   jurisdiction.”     (Id.)

26               Defendant’s contention that the requested relief
27   constitutes “new relief that plaintiff chose not to pursue during

28   the litigation of this action” is not accurate.      Plaintiff’s
                                       9
1    Complaint sought to “[p]ermanently enjoin Defendant, as well as

2    its agents, successors, assigns, and all persons in active

3    concert or participation with Defendant, from using the GRANGE

4    Marks or any other mark, corporate name or trade name that

5    contains the word GRANGE.”    (Compl. at 21-22 (emphasis added).)

6    The Complaint also requested that the court “direct that

7    Defendant’s registration of the corporate entity name ‘California

8    State Grange’ be revoked.”    (Id. at 22 (emphasis added).)

9             The Ninth Circuit has repeatedly rejected the argument

10   that a district court lacks subject matter jurisdiction to grant

11   additional injunctive relief or modify its existing injunction

12   while an appeal is pending.   See McClatchy, 686 F.2d at 735

13   (“[A]n appeal from an order granting an injunction does not

14   deprive the district court of jurisdiction to alter the

15   injunction for purposes of maintaining the status quo.”);

16   Hoffman, 536 F.2d at 1276 (“[I]n the case of an appeal from an

17   order granting an injunction, the district court does not lose

18   jurisdiction to alter the injunction.”).    As discussed above,

19   supra Part II.B, Rule 62(c) authorizes the court to grant or

20   modify injunctive relief to preserve the status quo or ensure
21   compliance with its earlier orders.    E.g., In re Icenhower, 755

22   F.3d 1130, 1138 (9th Cir. 2014); A&M Records, Inc. v. Napster,

23   Inc., 284 F.3d 1091, 1099 (9th Cir. 2002) (“The district court

24   properly exercised its power under Rule 62(c) to continue

25   supervision of [defendant’s] compliance with the injunction.”);

26   Armstrong v. Brown, 732 F.3d 955, 959 n.6 (9th Cir. 2013) (“The
27   district court acted to preserve the status quo and protect

28   plaintiffs’ rights in direct response to defendants’ repeated and
                                      10
1    willful non-compliance with its earlier orders.”).

2             The court may modify or broaden the scope of its

3    injunction under its continuing duty to supervise the relief

4    granted if it is informed of new facts that require additional

5    supervisory action.   Hoffman, 536 F.2d at 1276 (holding that the

6    general rule that an appeal to the circuit court deprives the

7    district court of jurisdiction “should not be applied in those

8    cases where the district court, as here, has a continuing duty to

9    maintain a status quo”); see Sys. Fed’n No. 91 v. Wright, 364

10   U.S. 642, 647-48 (1961) (holding that a district court has “wide

11   discretion” to modify an injunction based on changed

12   circumstances or new facts); A&M Records, 284 F.3d at 1098-99

13   (modification of injunction during pendency of appeal was proper

14   to clarify the injunction and supervise compliance in light of

15   new facts); Meinhold v. U.S. Dep’t of Def., 34 F.3d 1469, 1480

16   n.14 (9th Cir. 1994) (“DOD also contends that the district court

17   lacked jurisdiction to issue its amended order, which broadened

18   the scope of injunctive relief, because an appeal had already

19   been taken from the original order.     As the district court issued

20   the amended order to clarify its original injunction and to
21   supervise compliance in the wake of [plaintiff’s] motion for

22   contempt, it did not lack jurisdiction.”).     The court may

23   therefore grant the relief requested here.

24            The court also has the authority to enforce its orders

25   while an appeal is pending.    Sekaquaptewa v. MacDonald, 544 F.2d

26   396, 406 (9th Cir. 1976).     “Absent a stay, all orders and
27   judgments of courts must be complied with promptly.”     In re

28   Crystal Palace Gambling Hall, Inc., 817 F.2d 1361, 1364 (9th Cir
                                       11
1    1987) (citation omitted).    The court here denied defendant’s

2    motion to stay the injunction pending appeal.    (See Jan. 12, 2016

3    Order.)    Defendant is therefore obliged to comply with the

4    court’s previous injunction and, absent a stay, with any

5    injunctive relief granted here.

6               Granting the requested relief would also not change the

7    status quo or materially alter the status of this case on appeal.

8    In granting the requested relief, the court would not be

9    adjudicating new issues that were “not decided in its original

10   disposition of the case.”    McClatchy, 686 F.2d at 735 (holding

11   that the district court’s post-judgment adjudication of an issue

12   not decided in its original disposition of the case materially

13   affected the substantial rights of the parties and thus did not

14   fall within the authority of Rule 62(c)).    In Britton v. Co-op

15   Banking Group, 916 F.2d 1405 (9th Cir. 1990), the Ninth Circuit

16   explained that a district court’s post-judgment order may not

17   “change . . . the result of the very issue on appeal.”     Id. at

18   1412.   If such an order were allowed to stand, the appellate

19   court’s decision on the original order would be moot.    Id.

20   Alternatively, the appellate court would be dealing with a
21   “moving target” if it were to rule on the post-judgment order

22   instead.   Id.

23              Here, by contrast, granting the requested relief would

24   not change the result of the issues on appeal.    The issues on

25   appeal involve whether the court properly (1) granted plaintiff’s

26   motion for partial summary judgment on its trademark infringement
27   and unfair competition claims, and (2) entered its September 29,

28   2015 permanent injunction.    (Docket Nos. 87, 90.)   Enjoining
                                       12
1    defendant and its agents and affiliates from using the word

2    “Grange” in conducting any business activities or as part of any

3    corporate name, trademark, service mark, trade name, domain name,

4    or email address would not change the status quo because the

5    questions presented to the Ninth Circuit would remain unaffected.

6    See Nat. Res. Def. Council, 242 F.3d at 1166-67 (upholding

7    district court’s post-judgment order because it “left unchanged”

8    the core questions before the appellate court); Armstrong, 732

9    F.3d at 959 n.6 (“[T]he status of this case on appeal remains

10   unaltered by the [post-judgment order] because the question

11   before us remains unchanged.”).

12             Nor would the court be adjudicating any new issues that

13   were not decided in its original disposition of the case.     See

14   McClatchy, 686 F.2d at 735.   Plaintiff bases its requests for

15   injunctive relief in the pending motion on the court’s

16   disposition that (1) plaintiff has a protectable interest in its

17   valid and federally-registered “Grange” mark, and (2) there is

18   substantial evidence that defendant’s conduct created a strong

19   likelihood that a reasonably prudent consumer would be confused

20   as to the origin of defendant’s services and believe that
21   defendant was affiliated with plaintiff.   (July 14, 2015 Order at

22   5-10.)   The court may grant plaintiff’s requested injunctive

23   relief based upon these previously-adjudicated findings.     See

24   Delta Smelt, 2011 WL 2559021, at *6 (“This is not a case where

25   the requested actions will change the judgment in any way.”).

26             Requiring defendant and its affiliates to remove the
27   word “Grange” from their corporate names would in fact preserve

28   the status quo by ensuring compliance with the court’s summary
                                       13
1    judgment Order and permanent injunction.    See 15 U.S.C. § 1116(a)

2    (district courts may enforce their injunctions granted under the

3    Lanham Act); Nat. Res. Def. Council, 242 F.3d at 1166 (“We

4    conclude that the district court possessed jurisdiction to modify

5    the injunction while the consolidated appeal was pending, because

6    the changes preserved the status quo and did not materially alter

7    the status of the case on appeal.”).     Accordingly, the court

8    rejects defendant’s argument that it lacks jurisdiction to grant

9    the requested relief.

10        B.   Defendant’s Corporate Name

11             Defendant continues to use “Grange” as part of its

12   corporate name.   The California Secretary of State website

13   publically displays defendant’s name as “California State Grange”

14   and Robert McFarland as its president.     See Business Entity

15   Detail for “CALIFORNIA STATE GRANGE,” http://kepler.sos.ca.gov

16   (last visited Apr. 14, 2016).3   Defendant’s lobbying registration

17   filed with the California Secretary of State also lists its name

18   as “California State Grange.”    (McFarland Decl. Ex. C, Apr. 1,

19   2016 (“McFarland II. Decl.”) (Docket No. 132-8).)

20             Defendant has also filed its fictitious name statements
21   for “California Guild Foundation” and “CSG” with Sacramento

22
          3
23             The court takes judicial notice of filings with the
     California Secretary of State and County of Sacramento because
24   they are matters of public record whose accuracy is not subject
     to reasonable dispute. See Fed. R. Evid. 201; Lee v. City of Los
25   Angeles, 250 F.3d 668, 689 (9th Cir.2001); see also Grant v.
26   Aurora Loan Servs., Inc., 736 F. Supp. 2d 1257, 1265 (C.D. Cal.
     2010) (judicial notice of incorporation filings with Delaware
27   secretary of state); Helmer v. Bank of Am., N.A., Civ. No. 2:12-
     733 TLN, 2013 WL 4546285, at *2 (E.D. Cal. Aug. 27, 2013)
28   (judicial notice of records filed with county).
                                      14
1    County under its corporate name.       (McFarland I Decl. Ex. A.)   As

2    a result, the Sacramento County website displays “CALIFORNIA

3    STATE GRANGE” as the entity that owns every one of defendant’s

4    business names.    (Komski Decl. Ex. 2, Feb. 1, 2016 (“Komski II

5    Decl.”) (Docket No. 109-1); see McFarland II Decl. ¶¶ 4-5.)         By

6    continuing to use the word “Grange” in this manner, defendant

7    continues to infringe plaintiff’s registered mark and engage in

8    unfair competition against plaintiff.       (See July 14, 2015 Order;

9    Allen Decl. ¶ 20 (Docket No. 126-3) (“[M]any local Grange members

10   are relying on the official records of the California Secretary

11   of State, among other governmental authorities, to ascertain the

12   ‘true’ California State Grange.”.)

13               The court’s injunction in this case enjoined the

14   defendant and those acting in concert with it from using “marks

15   containing the word ‘Grange.’”     Defendant now argues that by

16   using the word “marks” in its order the court intended only to

17   preclude the use of trademarks, not names, containing the word

18   “Grange.”    (Opp’n at 6.)   That certainly was not the court’s

19   intention.    It was never some design, symbol, or logo which

20   plaintiff sought to prevent defendant from using.       Nor was it the
21   way the word “Grange” was written.       It was always the use of the

22   word “Grange” in defendant’s name which plaintiff sought to

23   enjoin, and that is what the court intended to do in its Order.

24   If the court erred in employing the term “marks” instead of

25   “names” in its order, it was a big mistake, but plaintiff should

26   not have to pay for that mistake by being required to wait while
27   a long appeal is processed before the court can correct it.

28               Upon more than just a cursory analysis, however,
                                       15
1    defendant’s interpretation of the injunction fails because, under

2    the Lanham Act, the term “mark” includes “words.”     See 15 U.S.C.

3    § 1127.    The Lanham Act defines a “mark” as any trademark,

4    service mark, collective mark, or certification mark.     Id.   Each

5    of these is defined as “any word, name, symbol, or device, or any

6    combination thereof.”    See id.   Trademarks and service marks are

7    any words or names used to identify and distinguish goods or

8    services and to indicate the source of those goods or services.

9    Id.4    Trademarks apply to goods; service marks apply to services.

10               Defendant’s argument therefore amounts to no more than

11   a game of “gottcha” because the court’s September 29, 2015

12   injunction prohibiting defendant from using marks containing

13
            4
14               Section 1127 of the Lanham Act provides in relevant
     part:
15
            The term “trademark” includes any word, name, symbol, or
16          device, or any combination thereof--
                 (1) used by a person, or
17
                 (2) which a person has a bona fide intention to use
18          in commerce and applies to register on the principal
            register established by this chapter,
19          to identify and distinguish his or her goods, including a
            unique product, from those manufactured or sold by others
20          and to indicate the source of the goods, even if that
            source is unknown.
21

22          The term “service mark” means any word, name, symbol, or
            device, or any combination thereof--
23               (1) used by a person, or
                 (2) which a person has a bona fide intention to use
24          in commerce and applies to register on the principal
            register established by this chapter,
25          to identify and distinguish the services of one person,
26          including a unique service, from the services of others
            and to indicate the source of the services, even if that
27          source is unknown.

28   Id. § 1127 (emphases added).
                                        16
1    “Grange” did indeed prohibit defendant from using the word

2    “Grange” or any name containing “Grange” in connection with its

3    goods or services.   This includes using a corporate name

4    containing the word “Grange.”   It also includes using the word

5    “Grange” or a name containing “Grange” in any articles of

6    incorporation, fictitious business name registrations, lobbying

7    licenses, and public filings.

8              Numerous courts have held that the unauthorized use of

9    a registered mark in a corporate name constitutes trademark

10   infringement.   See Accuride Int’l, Inc. v. Accuride Corp., 871

11   F.2d 1531, 1534-35 (9th Cir. 1989) (emphasizing that trademark

12   and corporate trade name protection are intertwined and governed

13   by the same test of infringement); Nat’l Customer Eng’g Inc. v.

14   Lockheed Martin Corp., Civ. No. 96-8938 DDP ANX, 1997 WL 363970,

15   at *6 (C.D. Cal. Feb. 14, 1997) (enjoining defendants’ use of

16   “MountainGate” in their corporate name because it was

17   substantially similar to plaintiff’s “Mountain” trademark);

18   accord Atlas Supply Co. v. Atlas Brake Shops, Inc., 360 F.2d 16,

19   19 (6th Cir. 1966) (enjoining use of the word “Atlas” in

20   defendant’s corporate name); Safeway Stores, Inc. v. Safeway
21   Props., Inc., 307 F.2d 495, 499 (2d Cir. 1962) (defendant’s use

22   of the word “Safeway” in its corporate name, “Safeway Properties,

23   Inc.,” was trademark infringement); Alfred Dunhill of London,

24   Inc. v. Dunhill Shirt Co., 213 F. Supp. 179, 184 (S.D.N.Y. 1963)

25   (defendant’s use of “Dunhill” in its corporate name infringed

26   plaintiff’s “Dunhill” trademark); see also Hulburt Oil & Grease
27   Co. v. Hulburt Oil & Grease Co., 371 F.2d 251, 254 (7th Cir.

28   1966) (“[A] state does not pass upon the legality of a corporate
                                     17
1    name by merely permitting incorporation under that name.”).

2             In addition, the Lanham Act also protects trade names.

3    A trade name is “any name used by a person [or entity] to

4    identify [its] business or vocation.”   15 U.S.C. § 1127.

5    Trademarks and service marks distinguish goods and services,

6    while trade names distinguish companies and their goodwill.       Am.

7    Steel Foundries v. Robertson, 269 U.S. 372, 380 (1926).     Trade

8    names commonly function as trademarks or service marks, and

9    actions brought under the Lanham Act typically challenge the use

10   of a mark as a trademark, service mark, and trade name.     See

11   Accuride, 871 F.2d at 1534 (15 U.S.C. § 1114 governs trademark or

12   service mark infringement; 15 U.S.C. § 1125(a) governs trade name

13   infringement); Stork Rest. v. Sahati, 166 F.2d 348, 353 (9th Cir.

14   1948) (“A corporate name or trade name identifies a corporation;

15   it also identifies its business and the goods or services which

16   it sells or renders.” (citation omitted)).

17            Trade names are accorded the same protection as

18   trademarks and service marks because they serve the same

19   fundamental purpose: “to identify a business and its products or

20   services, to create demand for those products or services, and to
21   protect the company’s good will.”   Accuride, 871 F.2d at 1536;

22   see also Sahati, 166 F.2d at 360 (“A trade name is . . . no less

23   effective than a trade-mark as a means of identification.”); W.

24   Des Moines State Bank v. Hawkeye Bancorp., 722 F.2d 411, 413 (8th

25   Cir. 1983) (“Trade names (business names) are under modern law

26   accorded the same protection as trademarks.”).   All three also
27   work to “preclude one from using another’s distinctive mark or

28   name if it will cause a likelihood of confusion or deception as
                                    18
1    to the origin of the goods [or services].”    New W. Corp. v. NYM

2    Co. of Cal., 595 F.2d 1194, 1201 (9th Cir. 1979).

3                The Supreme Court has emphasized that the distinction

4    between trademarks, service marks, and trade names is often

5    immaterial because “the law affords protection against [their]

6    appropriation in either view, upon the same fundamental

7    principles.”    Robertson, 269 U.S. at 380; accord Accuride, 871

8    F.2d at 1534 (“As a practical matter, courts are rarely called

9    upon to distinguish between trade names, trademarks and service

10   marks.”).   “As in general trademark law, the test for

11   infringement of the names of corporate, professional[,] and

12   business organizations is likelihood of confusion [and the key

13   question is] whether the public is likely to be deceived or

14   confused by the similarity of the marks.”     Accuride, 871 F.2d at

15   1533 (citation omitted).

16               Accordingly, defendant’s use of a corporate name

17   containing the word “Grange” is a use of a mark containing the

18   word “Grange” within the definition of the Lanham Act.

19   Defendant’s use of “California State Grange” as its corporate

20   name therefore infringes plaintiff’s registered mark and
21   constitutes unfair competition against plaintiff.     See Sahati,

22   166 F.2d at 357 (“[T]he use of the advertising or trade name or

23   distinguishing mark of another, is in its [n]ature, fraudulent

24   and will be enjoined.” (citation omitted)).

25               Pursuant to section 1116(a) of the Lanham Act,

26   defendant is ordered to remove the word “Grange” from all
27   corporate registrations and other documents filed with any

28   federal, state, or local government.    These include defendant’s
                                      19
1    articles of incorporation and lobbying licenses on file with the

2    California Secretary of State and all fictitious business names

3    on file with Sacramento County under the corporate name

4    “California State Grange.”

5         C.      “California Grange Foundation”

6                 California Grange Foundation (the “Foundation”) is a

7    corporation that was created by defendant in 1992 and is

8    currently operated by defendant’s president, Robert McFarland.

9    (See Komski Decl. ¶ 33, Ex. 22, Dec. 28, 2015 (“Komski I Decl.”)

10   (Docket Nos. 99-2 to 99-43); McFarland Decl. Ex. C; Keel Decl.

11   ¶¶ 3, 6, Apr. 1, 2016 (Docket No. 132-2).)      The California

12   Secretary of State lists the same corporate address for both

13   defendant and the Foundation, and both entities list McFarland as

14   their agent for service of process.      Compare Business Entity

15   Detail for “CALIFORNIA GRANGE FOUNDATION,” with Business Entity

16   Detail for “CALIFORNIA STATE GRANGE,” http://kepler.sos.ca.gov

17   (last visited Apr. 14, 2016).

18                McFarland exercises control over both entities,

19   including the contents of the Foundation’s website.      (Komski I

20   Decl. ¶ 33; Keel Decl. ¶¶ 3, 6.)       The Foundation’s board of
21   directors is also composed of members who sit on defendant’s

22   executive committee.     (McFarland I Decl. ¶ 22; Komski I Decl. Ex.

23   24 at 1.)

24                The court thus finds that the Foundation is defendant’s

25   agent, affiliate, assign, or an entity acting in concert with

26   defendant.    Cf. In re Gottheiner, 703 F.2d 1136, 1140 (9th Cir.
27   1983) (“When a person owns most or all of the shares in a

28   corporation and controls the affairs of the corporation, it is
                                       20
1    presumed that in any litigation involving that corporation the

2    individual has sufficient commonality of interest.” (citation

3    omitted)).   The Foundation is therefore bound by the court’s

4    September 29, 2015 injunction prohibiting it from using the word

5    “Grange.”    See Fed. R. Civ. P. 65(d)(2) (providing that an

6    injunction is binding upon the parties to an action and their

7    officers, agents, servants, employees, and attorneys and those

8    who are in active concert or participation with them, provided

9    that such non-parties received actual notice of the injunction).

10               The Foundation has registered fictitious business names

11   with Sacramento County to do business as “California Guild

12   Foundation.”    See Fictitious Business Name Search for “CALIFORNIA

13   GRANGE FOUNDATION,” Sacramento County On-Line Servs., https://

14   actonline.saccounty.net/CitizenAccess/SACCO_FBNSearch.aspx (last

15   visited Apr. 14, 2016).    The Sacramento County website lists

16   “California Grange Foundation” as the owner of that fictitious

17   business name, however, and the Foundation continues to retain

18   “California Grange Foundation” as its corporate name registered

19   with the California Secretary of State.

20               Accordingly, for the reasons discussed above, supra
21   Part III.B, California Grange Foundation is ordered to remove the

22   word “Grange” from all corporate registrations and other

23   documents filed with any federal, state, or local government.

24   These include articles of incorporation and lobbying licenses on

25   file with the California Secretary of State and all fictitious

26   business names on file with Sacramento County under its corporate
27   name “California Grange Foundation.”    The Foundation is advised

28   that non-parties may be held liable in contempt for violating the
                                      21
1    court’s injunction.        Peterson v. Highland Music, Inc., 140 F.3d

2    1313, 1323-24 (9th Cir. 1998); see also Reebok v. McLaughlin, 49

3    F.3d 1387, 1392 (9th Cir. 1995) (the court has personal

4    jurisdiction over domestic non-parties who act in concert with a

5    party in violating an injunction).

6            D.     Use of “Granger” and “CSG”

7                   Plaintiff also requests the court to enjoin defendant’s

8    use of the words “Granger” and “CSG.”        As discussed in detail in

9    the court’s Order of September 29, 2015, plaintiff’s Complaint

10   did not seek trademark protection for “Granger” or “CSG.”        (Sept.

11   29, 2015 Order at 3-4.)        All of the allegations in plaintiff’s

12   Complaint were limited to ten registered trademarks: “NATIONAL

13   GRANGE,” “THE GRANGE FOUNDATION,” “NATIONAL GRANGE OF THE ORDER

14   OF PATRONS OF HUSBANDRY,” two trademarks for “P OF H GRANGE,” and

15   five trademarks for “GRANGE.”        (Compl. ¶ 20.)   Plaintiff neither

16   alleged that defendant used “Granger” or “CSG” nor requested the

17   court to enjoin defendant from using “Granger” or “CSG.”         Because

18   summary judgment was limited to the use of “Grange,” whether

19   “Granger” or “CSG” are protected trademarks was never litigated

20   or before the court.
21                  Enjoining defendant’s use of “Granger” or “CSG” would

22   be improper because it would require the court to adjudicate new

23   issues that were “not decided in its original disposition of the

24   case.”       McClatchy, 686 F.2d at 735.    Such an injunction would

25   also change the status quo and materially alter the status of the

26   case on appeal.        See id.; Nat. Res. Def. Council, 242 F.3d at
27   1166.        The court must therefore limit its grant of injunctive

28   relief to the relief plaintiff had requested in its Complaint and
                                          22
1    the marks upon which the court granted summary judgment.       See

2    Skydive Arizona, Inc. v. Quattrocchi, 673 F.3d 1105, 1116 (9th

3    Cir. 2012) (“Injunctive relief under the Lanham Act must be

4    narrowly tailored to the scope of the issues tried in the

5    case.”); Crawford v. Gould, 56 F.3d 1162, 1168 (9th Cir. 1995)

6    (holding that a court may not enter a judgment that goes beyond

7    the claims asserted in the pleadings).      Accordingly, the court

8    will deny plaintiff’s request to enjoin defendant’s use of

9    “Granger” and “CSG.”

10       E.   Use of “Grange” in Business Activities

11            Plaintiff requests the court to enjoin defendant and

12   its agents and affiliates from conducting any business activities

13   using the name “Grange.”     Defendant acknowledges that it

14   currently uses two bank accounts opened under the name

15   “California State Grange.”    (McFarland I Decl. ¶ 19.)    Defendant

16   states it has removed the word “Grange” from its checks.

17   (McFarland II Decl. ¶ 21.)    But there is no indication that

18   defendant has removed the word “Grange” from the actual names of

19   its bank accounts.   (See Docket No. 114 at 12 (“Defendant’s bank

20   accounts remain in its corporate name.”).)
21            Defendant further contends that, at least since the

22   court’s judgment of September 29, 2015, it has not solicited any

23   membership dues using the name “Grange.”      (Opp’n at 6; McFarland

24   II Decl. ¶ 22.)   These statements do not appear to be true.

25   Until at least February 4, 2016, defendant issued billing

26   statements titled “Grange Dues.”       (Hoag Decl. ¶¶ 1, 4 (Docket No.
27   132-1); e.g., Docket No. 99-29.)       During that time, defendant

28   collected membership dues paid by checks that were addressed to
                                       23
1    “California State Grange,” and it endorsed those checks under the

2    name “California State Grange” and deposited them into its bank

3    accounts.    (Hoag Decl. ¶ 5; McFarland I Decl. ¶ 19; Wallis Decl.

4    ¶ 8 (Docket No. 114-12).)

5                These actions amount to a blatant disregard for and

6    violation of the court’s September 29, 2015 injunction.      As

7    described above, supra Part III.B, the permanent injunction

8    restricted defendant from using the word “Grange” or any name

9    containing “Grange” in connection with its goods or services.

10   This included mailing billing statements titled “Grange dues,”

11   endorsing checks using any name containing the word “Grange,” and

12   using bank accounts under any name containing the word “Grange.”

13               Accordingly, the court will enjoin defendant and its

14   agents, affiliates, and assigns, and any party acting in concert

15   with them, from conducting any business activities using the name

16   “Grange,” including, but not limited to, soliciting dues using

17   the name “Grange,” collecting checks addressed to any entity that

18   contains the word “Grange” in its name, endorsing checks using

19   any name that contains the word “Grange,” using bank accounts or

20   other financial accounts under any name containing the word
21   “Grange,” and endorsing, signing, or executing any document,

22   lease, instruction, or financial instrument using any name

23   containing the word “Grange.”

24       F.      Use of “Grange” in Domain Names and Email Addresses

25               The court has previously expressed that the permanent

26   injunction prohibits defendant from using “Grange” in any domain
27   name or email address.    (See Sept. 29, 2015 Order at 5.)

28   Defendant and McFarland currently list their email address on the
                                      24
1    California Secretary of State website as “president@california

2    grange.org.”     See Lobbying Activity for “C.S.G.,” http://

3    cal-access.ss.ca.gov/Lobbying/Employers/Detail.aspx?id=1146807&se

4    ssion=2015 (last visited Apr. 14, 2016); Lobbying Activity for

5    “MC FARLAND, BOB E.,” http://cal-access.ss.ca.gov/Lobbying

6    /Lobbyists/Detail.aspx?id=1326773&session=2015 (last visited Apr.

7    14, 2016).     Accordingly, the court will grant plaintiff’s request

8    to enjoin defendant and its agents and affiliates from using the

9    word “Grange” in any domain name or email address.

10          G.    Reference to Past Affiliation

11                Plaintiff seeks to enjoin defendant from making certain

12   references, discussed below, pertaining to defendant’s past

13   affiliation with plaintiff.     After the parties disaffiliated in

14   2013, plaintiff’s California-based members reorganized a state

15   chapter under the name “Grange of the State of California’s Order

16   of Patrons of Husbandry, Chartered.”     (July 14, 2015 Order at

17   11.)    The court previously found it “foreseeable that a

18   prospective or current member [of plaintiff] would be uncertain

19   as to which California Grange originates from [plaintiff’s]

20   organization.”     (Id.)
21                Defendant conceded that the use of “Grange” by two

22   separate California organizations had caused actual confusion

23   among consumers regarding the origin of defendant’s services.

24   (Id. at 11-12; see also id. at 9 (finding the record “replete

25   with evidence that a reasonably prudent Grange member,

26   prospective member, or other person contemplating doing business
27   with [plaintiff] is likely to be confused as to the origin of

28   defendant’s services due to its use of ‘Grange’”).)     In enjoining
                                       25
1    defendant from using the word “Grange” or any name containing

2    “Grange,” the court’s September 29, 2015 injunction aimed to

3    protect consumers from being misled or confused about the source

4    of defendant’s services or its association with plaintiff.

5                This is not to say that defendant can never make

6    reference to the history of its organization.     But that is not

7    what defendant is doing here.     Since the court’s injunction,

8    defendant has referred to itself as the legal successor to the

9    former California State Grange.     (Allen Decl. ¶¶ 10-11.)

10   Defendant also identifies itself publically as CSG, formerly

11   known as California State Grange; formerly trading as California

12   State Grange; and formerly doing business as California State

13   Grange.   Every page on defendant’s website currently contains a

14   prominent header at the top that says: “CSG Formerly the

15   California State Grange.”    E.g., Welcome to the CSG,

16   www.csgunited.org (last visited Apr. 14, 2016).

17               It appears that these references to defendant’s past

18   affiliation with plaintiff are an attempt to do an “end-run”

19   around the court’s permanent injunction prohibiting defendant

20   from using the word “Grange” in connection with its goods or
21   services.   Cf. TrafficSchool.com, Inc. v. Edriver, Inc., 653 F.3d

22   820, 830 (9th Cir. 2011) (evidence of actual confusion strongly

23   supports a finding of willfulness); Earthquake Sound Corp. v.

24   Bumper Indus., 352 F.3d 1210, 1218 (9th Cir. 2003) (same).

25   Defendant’s references have caused a number of plaintiff’s

26   members to believe that defendant is currently plaintiff’s
27   authorized representative.    (Allen Decl. ¶¶ 10-11; Huber Decl.

28   ¶¶ 20, 29 (Docket No. 126-3).)
                                       26
1              These references, including representations that

2    defendant is the “former California State Grange,” have also

3    caused actual confusion among at least fifty of plaintiff’s

4    members since September 2015 regarding the origin of defendant’s

5    services and defendant’s association with plaintiff.    (Allen

6    Decl. ¶¶ 3, 10.)    In addition, the first sentence of defendant’s

7    homepage states: “The CSG (formerly California State Grange) is

8    the oldest agricultural organization in California, started in

9    1870.”   Id.

10             The court previously held that similar references to

11   defendant’s historical affiliation with plaintiff strongly

12   suggested to consumers that defendant was presently affiliated

13   with plaintiff.    (July 14, 2015 Order at 9-10 (finding that

14   “defendant recounts plaintiff’s history, and not its own” and

15   that this is likely to cause plaintiff’s members or prospective

16   members to believe that defendant is affiliated with

17   plaintiff).); cf. FTC v. Algoma Lumber Co., 291 U.S. 67, 81

18   (1934) (“[T]here is a kind of fraud, as courts of equity have

19   long perceived, in clinging to a benefit which is the product of

20   misrepresentation, however innocently made.    That is the
21   respondents’ plight today, no matter what their motives may have

22   been when they began.    They must extricate themselves from it by

23   purging their business methods of a capacity to deceive.”).

24             Most importantly, by identifying itself as “formerly

25   the California State Grange,” defendant is effectively using a

26   name containing the word “Grange” in violation of the court’s
27   permanent injunction.    Precluding defendant from referencing its

28   past affiliation with plaintiff in a manner that causes consumers
                                      27
1    to be misled or confused about the origin of defendant’s services

2    or its association with plaintiff serves the key objective of the

3    Lanham Act.     See Park ‘N Fly, Inc. v. Dollar Park & Fly, Inc.,

4    469 U.S. 189, 198 (1985).    Doing so also accords with the court’s

5    previous rulings and permanent injunction in this case.

6    Accordingly, the court will grant plaintiff’s request and enjoin

7    defendant from referencing its past affiliation with plaintiff,

8    including representing that it is the former California State

9    Grange; successor to the California State Grange; or formerly

10   known as, trading as, or doing business as the California State

11   Grange.

12        H.     Business Directory Listings

13               Plaintiff requests that the court order defendant to

14   “cancel and discontinue use of all telephone number[] listings

15   containing the name ‘Grange’ and delete all appearances of the

16   name ‘Grange’ from Defendant’s business directory listings with

17   Google and those appearing at ZoomInfo and similar internet

18   websites.”    Defendant argues that it does not have control over

19   the contents of Google or ZoomInfo, has never requested any

20   information to be posted on those sites, and has not encouraged
21   any third-party website to refer to defendant using the word

22   “Grange.”     (McFarland II Decl. ¶ 12; Keel Decl. ¶ 8.)

23               Defendant’s address and telephone number appear in

24   response to a Google search for “California State Grange.”

25   (Komski I Decl. ¶ 10.)     The Google result is a business listing

26   for “California State Grange” in the Google Maps database.       See
27   “California State Grange,” Google Search, https://www.google.com

28   /search?q=California+State+Grange (last visited Apr. 14, 2016).
                                       28
1    Immediately under the listed information, there is a link titled

2    “Suggest an edit.”    That link allows users who “see something

3    wrong with a business [they] don’t own or manage” to report wrong

4    business information or remove their own information from an

5    unrelated business that appears on a Google search result.      Add

6    or Edit Business Information on Maps, Google.com, https://

7    support.google.com/business/answer/6174435 (last visited Apr. 14,

8    2016).5   Users can also remove data from Google’s directory for

9    legal reasons by submitting a “legal request.”    Report a Data

10   Problem in Google Maps, Google.com, https://support.google.com

11   /maps/answer/3094088 (last visited Apr. 14, 2016).

12              Defendant’s company profile on ZoomInfo.com lists its

13   name as “CSG” and its website as www.californiagrange.org.      See

14   “CSG” Company Profile, www.zoominfo.com/c/California-State-

15   Grange/353967545 (last visited Apr. 14, 2016).    Its company

16   description states:

17        The CSG (formerly California State Grange) is the oldest
          agricultural organization in California, started in 1870.
18
          Cities and townships have grown up around our rural halls
19        and the CSG has evolved into a community service
          organization with 10,000 members and 206 chapters across
20
21        5
               To the extent some of the descriptions about Google and
22   ZoomInfo’s websites are not in the record, the court takes
     judicial notice of www.Google.com and www.ZoomInfo.com and the
23   information contained therein pursuant to Federal Rule of
     Evidence 201. See Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir.
24   2005) (finding judicial notice of webpages appropriate because
     “[j]ust as a reader must absorb a printed statement in the
25   context of the media in which it appears, a computer user
26   necessarily views web pages in the context of the links through
     which the user accessed those pages”); Hendrickson v. eBay, Inc.,
27   165 F. Supp. 2d 1082, 1084 n.2 (C.D. Cal. 2001) (taking “judicial
     notice of www.eBay.com and the information contained therein
28   pursuant to Federal Rule of Evidence 201”).
                                      29
1          California. CSG community halls are often the center of
           their community, providing opportunities, culture and
2          education, entertainment, emergency shelter, and a
           meeting place where new friends are made and old friends
3
           are cherished. Everyone is welcome to apply for
4          membership in the CSG. Each member contributes at their
           own pace and level of participation. Each chapter decides
5          how to best serve the community.

6    Id.   The court has previously found that similar language posted

7    on defendant’s website strongly suggested that defendant was

8    affiliated with plaintiff.     (July 14, 2015 Order at 9-10.)

9                Like Google, ZoomInfo also allows users to notify it if

10   a company profile in their name is inaccurate or out-of-date and

11   to correct that information.    See Contact Us, ZoomInfo, http://

12   www.zoominfo.com/business/contact (last visited Apr. 14, 2016).

13   Users may also remove their business profile completely from the

14   directory.   See FAQ, ZoomInfo, http://subscriber.zoominfo.com/

15   usercenter/index.php/pro-faq#removal (last visited Apr. 14,

16   2016).

17               Defendant’s assertions that it has no control over the

18   contents of its listings on Google or ZoomInfo are therefore not

19   entirely true.    Defendant concedes that it has not “attempted to

20   influence[] Google or ZoomInfo search results” and has not sent

21   any communications to those websites “since the injunction was

22   entered.”    (McFarland I Decl. ¶ 18; Docket No. 114 at 14.).

23   Accordingly, since defendant is able to utilize easily-accessible

24   features on Google and ZoomInfo to remove or correct its public

25   business information, the court will order defendant to remove

26   the word “Grange” from all public telephone and business

27   directory listings, on the internet and otherwise, to the extent

28   it can do so.
                                       30
1        I.   Disclaimer on Defendant’s Website

2             Plaintiff requests an injunction ordering defendant to

3    include a prominent disclaimer on its website that it is “not

4    affiliated with the California State Grange.”    Plaintiff also

5    requests that defendant include a hyperlink on its website that

6    redirects users to plaintiff’s website.   That is something more

7    than what the court enjoined or intended to compel in its

8    original injunction, and would go beyond merely preserving the

9    status quo.   Accordingly, the court will deny plaintiff’s request

10   to expand the injunction to require defendant to provide a

11   disclaimer on its website or include a hyperlink that redirects

12   users to plaintiff’s website.

13       J.   Attorney’s Fees

14            Plaintiff requests that the court order defendant to

15   pay its reasonable attorney’s fees in bringing this motion and

16   its previous motion for an order to show cause why defendant

17   should not be held in contempt for violating the court’s original

18   injunction, including the declarations of Ed Komski.    Defendant

19   argues that plaintiff voluntarily abandoned its claim for fees

20   when it moved to voluntarily dismiss its monetary claims on
21   September 4, 2015.   (Opp’n at 9 (citing Docket No. 75).)    In that

22   motion, however, plaintiff sought to dismiss its claims for

23   damages or fees without prejudice “to any claims that it may make

24   in the future.”   (Docket No. 75 at 1.)

25            The parties later filed a stipulated motion to dismiss

26   plaintiff’s claims for damages with prejudice.   (Docket No. 80.)
27   The parties stipulated “that nothing in the Order sought by this

28   [stipulated] Motion shall be understood to preclude Plaintiff for
                                     31
1    making a claim for damages in the event of a future violation of

2    any permanent injunction that is ultimately issued in this case.”

3    (Id. ¶ 3; Docket No. 80-1 at 2.)        The court granted the parties’

4    stipulated motion on September 29, 2015.        (Sept. 29, 2015 Order

5    at 1-2, 6.)

6             As discussed in this Order, defendant violated the

7    court’s permanent injunction by continuing to use “Grange” in its

8    corporate name, business activities, email address on the

9    California Secretary of State website, and business directory

10   listings that it had the opportunity to correct or remove.

11   Plaintiff’s fee request here is thus for “a future violation of

12   any permanent injunction” as contemplated by the parties and

13   stipulated in their motion.   (Docket No. 80 ¶ 3.)       Accordingly,

14   plaintiff did not abandon its claim for attorney’s fees here.

15            Under 15 U.S.C. § 1117(a), the court may award

16   reasonable attorney’s fees to the prevailing party in an

17   exceptional case, “which includes cases in which the act is

18   fraudulent, deliberate, or willful.”        Horphag Research Ltd. v.

19   Garcia, 475 F.3d 1029, 1039 (9th Cir. 2007).

20            1.     Prevailing Party
21            “A party is a prevailing party for purposes of an

22   attorneys’ fee award if it ‘achieved a material alteration in the

23   legal relationship of the parties that is judicially

24   sanctioned.’”   Fifty-Six Hope Rd. Music, Ltd. v. A.V.E.L.A.,

25   Inc., 778 F.3d 1059, 1078 (9th Cir. 2015) (citation omitted).

26   “The material alteration in the legal relationship of the parties
27   must be relief that the would-be prevailing party sought.”

28   Klamath Siskiyou Wildlands Ctr. v. U.S. Bureau of Land Mgmt., 589
                                        32
1    F.3d 1027, 1030 (9th Cir. 2009).          A party need not succeed on all

2    of its claims to be the prevailing party.         A.V.E.L.A., 778 F.3d

3    at 1078.

4               As for the pending motion, the court has granted a

5    large part of plaintiff’s requested relief.         Plaintiff has thus

6    obtained a material alteration in the legal relationship of the

7    parties that is judicially sanctioned.         See id. at 1078; Klamath,

8    589 F.3d at 1035.    As for plaintiff’s contempt motion, the court

9    denied that motion without prejudice to plaintiff bringing its

10   pending motion.    (Docket Nos. 117, 125.)       The pending motion is

11   based on exhibits and evidence that plaintiff had submitted with

12   its contempt motion.    (Mot. at 5.)

13              Plaintiff’s contempt motion also sought much of the

14   relief the court has granted here.         (See Docket Nos. 109, 109-2

15   (seeking to enjoin defendant and California Grange Foundation

16   from using “Grange” in their corporate names; seeking to enjoin

17   defendant from conducting business using the name “Grange” or

18   representing its email address using the word “Grange”; and

19   requesting the court to order defendant to remove the word

20   “Grange” from its business directory listings on Google and
21   ZoomInfo).)     Plaintiff has therefore obtained the relief it

22   sought in its motion for an order to show cause why defendant

23   should not be held in contempt.       Because plaintiff has obtained

24   the relief it sought in both of its motions, it is the prevailing

25   party on both motions for purposes of a fee award.

26              2.     Exceptional Case
27              A case is considered exceptional “when the infringement

28   is malicious, fraudulent, deliberate, or willful.”          A.V.E.L.A.,
                                          33
1    778 F.3d at 1078 (citation omitted).      “Egregious conduct is not

2    required.”    Id.   “Nor is bad faith.”   Id.   The court is hard

3    pressed to find that defendant’s acts were anything other than

4    deliberate and willful.     There is significant evidence that

5    defendant was aware that its conduct infringed plaintiff’s

6    trademark rights and constituted unfair competition against

7    plaintiff.

8                 In its Order of July 14, 2015, the court found

9    significant evidence of representations made by defendant on its

10   website, in its newsletters, and in public media strongly

11   suggesting it was still affiliated with plaintiff.       (July 14,

12   2015 Order at 9-10; e.g., Turrill Decl. Exs. 7, 23-24 (Docket

13   Nos. 43-4 to 43-11).)     Based on that evidence, the court

14   concluded that a reasonable current or prospective member of

15   plaintiff’s national organization, or any other person

16   contemplating doing business with plaintiff, would likely believe

17   defendant is affiliated with plaintiff and be confused as to the

18   origin of its services.     (July 14, 2015 Order at 9-10.)

19                Defendant’s membership brochures and its current

20   website’s format, layout, and content are almost identical to
21   those it used when it was affiliated with plaintiff.       (Komski I

22   Decl. ¶¶ 7-8, 28-29, Exs. 1-2, 16-17.)     After its disaffiliation,

23   defendant listed the names of plaintiff’s members on its new

24   website, and it displayed links to historical publications made

25   by plaintiff’s organization in its website’s “News Archive”

26   section.     (Id. ¶¶ 19, 30, Exs. 9-10, 18.)
27                Despite this court’s permanent injunction barring

28   defendant from using “Grange,” defendant uses the name “Grange”
                                       34
1    in public filings and registrations with the California Secretary

2    of State and the County of Sacramento.   See Stover v. Farmers’

3    Educ. & Co-op. Union of Am., 250 F.2d 809, 812-13 (8th Cir. 1958)

4    (“It is immaterial that the injunction did not include a general

5    prohibition of any use of the corporate names of the defendants.

6    It plainly and unambiguously forbade the appellant to use the

7    registered words [and his violations were thus] properly held to

8    be wilful and in contempt of court.”).   Defendant’s use of the

9    name “Grange” is visible to the public on the Secretary of State

10   and County websites.   (E.g., Komski II Decl. Ex. 2.)   Defendant

11   and McFarland both represent their email addresses as

12   “president@californiagrange.org” on lobbying licenses with the

13   Secretary of State that are visible to the public.

14              Until at least February 4, 2016, defendant issued

15   billing statements titled “Grange Dues” and endorsed and

16   deposited checks addressed to “California State Grange.”     Its

17   public business profiles on Google.com and ZoomInfo listed it as

18   “California State Grange” and its website as www.californiagrange

19   .org, even though defendant was free to correct or remove that

20   information any time it wished.    Defendant’s agents have
21   continued to represent that defendant is the “California State

22   Grange.”   In December 2015, one of plaintiff’s members called

23   defendant’s business number and asked if he had reached the

24   “California State Grange”; the receptionist answered, “Yes.”

25   (Komski I Decl. ¶ 11.)

26              There is also evidence that defendant’s conduct has
27   caused actual confusion among at least fifty of plaintiff’s

28   members regarding defendant’s affiliation with plaintiff and the
                                       35
1    origin of its services.    (E.g., Allen Decl. ¶¶ 3, 10-11.)   Ample

2    evidence of actual confusion is the most important support for a

3    finding of willfulness.    TrafficSchool.com, 653 F.3d at 833;

4    Earthquake Sound, 352 F.3d at 1218.    The court therefore

5    concludes that defendant has willfully and deliberately continued

6    to deceive the public by infringing plaintiff’s trademark and

7    engaging in unfair competition against plaintiff.    See

8    TrafficSchool.com, 653 F.3d at 833 (“There was overwhelming proof

9    that defendants knew their statements confused consumers and did

10   little or nothing to remedy it.    The district court could

11   reasonably infer that they willfully deceived the public.”);

12   Earthquake Sound, 352 F.3d at 1219 (“The total picture in this

13   case is one of deliberate, willful infringement . . . . We thus

14   hold that this is an exceptional case within the meaning of 15

15   U.S.C. § 1117(a) such that the district court did not abuse its

16   discretion in awarding Earthquake its attorney’s fees.”).

17               Accordingly, the court grants plaintiff’s request for

18   attorney’s fees incurred in bringing this motion and its motion

19   for an order to show cause why defendant should not be held in

20   contempt.   Within twenty-one (21) days from the date of this
21   Order, plaintiff shall file a declaration detailing its

22   attorney’s fees for bringing these two motions.    The court will

23   review the accounting and will thereafter issue an Order

24   directing defendant to pay such of it as the court approves.

25               IT IS THEREFORE ORDERED that plaintiff National Grange

26   of the Order of Patrons of Husbandry’s motion for an injunction
27   (Docket No. 126) be, and the same hereby is, GRANTED IN PART as

28   follows:
                                       36
1             (1) defendant California State Grange and its agents,

2    affiliates, and assigns, and any party acting in concert with

3    defendant or its agents, affiliates, and assigns, including the

4    California Grange Foundation, shall remove the word “Grange” from

5    all corporate registrations and other documents filed with any

6    federal, state, or local government, including, but not limited

7    to, articles of incorporation and lobbying licenses on file with

8    the California Secretary of State and all fictitious business

9    name registrations with the County of Sacramento;

10            (2) within five (5) days from the date of this Order,

11   defendant shall serve upon California Grange Foundation a copy of

12   this Order and shall file with the clerk a certificate reflecting

13   such service;

14            (3) defendant and its agents, affiliates, and assigns,

15   and any party acting in concert with defendant or its agents,

16   affiliates, and assigns shall remove the word “Grange” from all

17   public telephone and business directory listings, on the internet

18   or otherwise, including, but not limited to, online business

19   directory listings on www.Google.com and www.ZoomInfo.com, to the

20   extent they can do so;
21            (4) defendant and its agents, affiliates, and assigns,

22   and any party acting in concert with defendant or its agents,

23   affiliates, and assigns are permanently enjoined from:

24                   (a) conducting business using the name “Grange,”

25   including, but not limited to, soliciting dues using the name

26   “Grange,” collecting checks addressed to any entity whose name
27   contains the word “Grange,” endorsing checks using any name

28   containing the word “Grange,” using bank accounts or other
                                     37
1    financial accounts under any name containing the word “Grange,”

2    and endorsing, signing, or executing any document, lease,

3    instruction, or financial instrument using any name containing

4    the word “Grange”;

5                   (b) using “Grange” in any domain name or email

6    address or otherwise representing their domain name or email

7    address as containing the word “Grange”; and

8                   (c) referencing their past affiliation with

9    plaintiff or any other entity whose name contains the word

10   “Grange,” including representing themselves to be the former

11   California State Grange; successor to the California State

12   Grange; or formerly known as, trading as, or doing business as

13   the California State Grange;

14            (5) within fifteen (15) days from the date of this

15   Order, defendant shall file with the court and serve on plaintiff

16   a report in writing under oath setting forth in detail the manner

17   and form in which defendant, its officers, agents, servants,

18   employees, representatives, partners, and all parties acting in

19   concert with defendant have complied with the terms of this

20   Order;
21            (6) within twenty-one (21) days from the date of this

22   Order, plaintiff shall file an accounting of its attorney’s fees

23   associated with its motion for an injunction (Docket No. 126),

24   its motion for an order to show cause why defendant should not be

25   held in contempt (Docket No. 109), and the declarations of Ed

26   Komski dated December 28, 2015 (Docket Nos. 99-2 to 99-43) and
27   February 1, 2016 (Docket No. 109-1).   Defendant may file an

28   opposition to plaintiff’s fee motion within fourteen (14) days
                                    38
1    from the date plaintiff’s fee motion is filed.   The court will

2    review the accounting and will thereafter issue an Order

3    directing defendant to pay some or all of it; and

4              (7) defendant shall pay plaintiff these attorney’s fees

5    and file an affidavit with the court confirming payment within

6    five (5) business days after the court issues its Order regarding

7    the attorney’s fees.

8              IT IS SO ORDERED.

9    Dated:   April 20, 2016

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